
720 S.E.2d 687 (2012)
STATE
v.
Keenan Montrell WATKINS.
No. 42P12-1.
Supreme Court of North Carolina.
February 1, 2012.
James N. Freeman, Elkin, for Watkins, Keenan Montrell.
John P. Barkley, Assistant Attorney General, for State of North Carolina.
Joseph L. Hyde, Assistant Attorney General, for State of North Carolina.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 31st of January 2012 by State of NC for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 1st of February 2012."
